      Case 8-18-72852-reg       Doc 40      Filed 01/09/19            Entered 01/09/19 15:46:22


                                                 U.S. Department of Justice

                                                 Office of the United States Trustee
                                                 Eastern District of New York (Central Islip Division)

                                        Alfonse M. D’Amato Federal Courthouse         Telephone:   (631) 715-7800
                                               560 Federal Plaza                           Fax:    (631) 715-7777
                                                    Central Islip, New York 11722-4456


                               CONVERTED CASE MEMORANDUM

TO:                   Case Administration- Judge Team for Robert E. Grossman

FROM:                 William K. Harrington
                      United States Trustee

PREPARED BY:          Joann Lomangino

DATE:                 January 9, 2019

RE:                   Appointment of Chapter 7 Trustee – Converted Case From Chapter 11 to
                      Chapter 7- And Scheduling of Section 341(a) Meeting to be noticed by
                      Clerk’s Office


        The below listed case has been reviewed.

Andrew M. Thaler has been selected as interim trustee for this case. His address is c/o Thaler Law
Firm PLLC, 675 Old Country Road      , Westbury, New York 11590

      The 341 (a) meeting for the case will be held at 560 Federal Plaza, Room 561, Central Islip, New
York 11722, on February 7, 2019 at 10:00 a.m.

                 CONVERTED CHAPTER 11 CASE TO CHAPTER 7 ASSET CASE

                    Doreen Hoffman                                         8-18-72852-reg
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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF NEW YORK

In Re:

            Doreen Hoffman                                               8-18-72852-reg

                         Debtor.

                                     _______________

                         APPOINTMENT OF INTERIM TRUSTEE AND
                            DESIGNATION OF REQIRED BOND
                                _______________

        Andrew M. Thaler of Westbury, New York, is hereby appointed, pursuant to 11 U.S.C. 701(a) as
interim Trustee for the estate(s) of the above named debtor(s). See 11 U.S.C. 701(c). If no trustee is
elected, you shall serve as the Trustee in this case by operation of law. 11 U.S.C. 702(d).

         The amount of your bond is covered by the bond of Interim Trustees in Chapter 7 cases issued by
Liberty Mutual Insurance Company which is on filed with the Office. See 11 U.S.C. 322(a) Federal
Rules of Bankruptcy Procedure 2010(a). In addition, because your blanket acceptance of appointment
is on file (FRBP 2008; FRBP 2010(a)), you are required to notify the undersigned in writing within five
(5) business days after receipt of this notice only in the event you reject this appointment.

Dated: Central Islip, New York
       January 9, 2019


                                            WILLIAM K. HARRINGTON
                                            UNITED STATES TRUSTEE


                                            By:     /s/ Christine H. Black
                                                    Christine H. Black
                                                    Assistant United States Trustee
                                                    Long Island Federal Courthouse
                                                    560 Federal Plaza
                                                    Central Islip, New York 11722
                                                    Tel. No. (631) 715-7800
